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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA


 J. LAFLEUR, on behalf of himself and other individuals
 similarly situated,
                                    Plaintiffs,                 Case No.

                against                                         CLASS ACTION COMPLAINT

 FLORIDA BOARD OF GOVERNORS; UNIVERSITY
 OF SOUTH FLORIDA; and other affiliated entities and            JURY TRIAL DEMANDED
 individuals,

                                       Defendants.




       Named Plaintiff J. LAFLEUR (hereinafter “Plaintiff”), individually and on behalf of all

others similarly situated, by his attorneys, brings this class action against Defendants, FLORIDA

BOARD OF GOVERNORS and UNIVERSITY OF SOUTH FLORIDA (collectively,

“Defendants”) alleging the following upon information and belief, except for those allegations

pertaining to Plaintiff, which are based on personal knowledge.

                                 NATURE OF THE ACTION

       1.      This class action is brought on behalf of Named Plaintiff J. LAFLEUR and those

similarly situated who paid tuition and fees for the Spring 2020 semester, Summer 2020 semester,

or any future semester at the University of South Florida (“USF”) or any of the Universities in the

State University System of Florida that are governed by the Florida Board of Governors1

(collectively, the “Universities”), and who had their class(es) moved to online learning.



1.     Consisting of Florida A&M University, Florida Atlantic University, Florida Gulf Coast
University, Florida International University, Florida Polytechnic University, Florida State
University, New College of Florida, University of Central Florida, University of Florida,
University of North Florida, University of South Florida, and University of West Florida.
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        2.     As a result of Defendants’ response to the Novel Coronavirus Disease 2019

(“COVID-19”), Plaintiff and members of the Class did not receive the in-person benefits and

services for which they bargained for in exchange for tuition and various fees paid.

        3.     Plaintiff and Defendants entered into a contract where Plaintiff would provide

payment in the form of tuition and fees and Defendants would provide in-person educational

services, experiences, opportunities, and other related services.

        4.      On or around March 11, 2020, the University of South Florida cancelled all in-

person education and began transitioning to complete online education for at least two weeks,

following Spring Break recess. On March 17, 2020 USF cancelled in-person classes through the

remainder of the Spring 2020 semester. Similarly, at around the same time, all USF events, clubs,

organizations and similar experiences and opportunities were cancelled.

        5.     Under the guidance of the Florida Board of Governors, all of the Universities

similarly transitioned to remote online learning only, and cancelled all events, clubs, organizations

and similar experiences and opportunities that the students paid fees for.

        6.     Based on these closures, Defendants have failed to uphold their end of the contract

to provide in-person educational services and other related collegiate experiences and services.

        7.     Despite Defendants’ failure to provide the services and experiences as bargained

for, Defendants have not offered any refund of the tuition and fees that Plaintiff and the Class had

paid.

                                              FACTS

        8.      Plaintiff and Class Members are individuals that were/will be obligated to pay

tuition and fees for the Spring 2020 semester, Summer 2020 semester, and/or any future semester

to the Universities.



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       9.       Defendants accepted Plaintiff’s and Class Members’ payments in exchange for in-

person educational services, experiences, and opportunities as detailed in Defendants’ marketing,

advertisements, and other public representations.

       10.      Based on the academic schedule, the Spring 2020 semester at USF commenced on

or around January 13, 2020 and was scheduled to conclude on or around May 7, 2020. The Summer

2020 semester at USF commenced on or around May 18, 2020 and is scheduled to conclude on or

around August 7, 2020.

       11.      Plaintiff J. Lafleur was an undergraduate student during the Spring 2020 semester.

The University of South Florida charged Plaintiff approximately $2,059.72 in tuition and fees

during the Spring 2020 semester, not including parking. Upon information and belief, Plaintiff has

not received a refund for tuition, fees, or parking fees paid for the Spring 2020 semester.

       12.      Plaintiff is currently an undergraduate student during the Summer 2020 semester.

USF charged Plaintiff approximately $1,300.00 in tuition and fees, including distance learning

fees, a flat fee for athletics, an undergraduate local fee, and a technology fee, during the Summer

2020 semester. Upon information and belief, Plaintiff has not received a discount or refund of

tuition or fees for the Summer 2020 semester.

       13.      The University of South Florida charges tuition and fees on a per credit hour basis,

which varies depending on residential status and campus location, and are as follows for

undergraduate students:




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     14.   USF’s tuition and fees per credit hour for graduate students are as follows:




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       15.      USF charges additional fees for undergraduate and graduate students, as follows:




       16.      In tacit acknowledgment that the students at USF were not receiving the same

benefits, and that the fees should be partially refunded for the Spring 2020 semester, USF reduced

its Summer 2020 semester fees, as follows:




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       17.      Plaintiff and members of the Class paid tuition and fees for in-person educational

services, experiences, opportunities, and other related collegiate services for the entire semester.

       18.      According to the State University System of Florida, the average undergraduate

tuition and fees per credit hour for a Florida State Resident during the Spring 2020 semester is

approximately $197.97, and a similar type charge was applied for Summer 2020. Therefore, a full-

time student, taking at least 12 credits, paid approximately $2,375.64 in tuition and fees and a

student taking at least 15 credits, paid approximately $2,969.55 in tuition and fees for the Spring

2020 semester. The average per credit hour cost for a non-Florida resident is approximately

$561.80, meaning a full-time student taking at least 12 credits, paid approximately $6,741.60 in

tuition and fees and a full-time student taking at least 15 credits, paid approximately $8,427.00 in

tuition and fees for the Spring 2020 semester.

       19.      While prices vary throughout the State University System of Florida, the average

tuition and fees for the Spring 2020 semester for a Florida state resident was approximately


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$2,957.75. The average system wide tuition and fees for a non-Florida state resident was

approximately $10,311.54.

       20.      Similar billing practices were employed for the Summer 2020 semester.

       21.      On or around March 17, 2020, USF announced that because of COVID-19 they

would suspend all in-person classes for the remainder of the Spring Semester 2020 beginning on

or around March 23, 2020 (following Spring Break recess) and that all learning would transition

to online.

       22.      Defendants were unable to provide in-person educational experiences, services,

and opportunities for approximately 50% of the Spring 2020 semester.

       23.      Prior to the suspension of in-person classes for the Spring 2020 semester, Plaintiff

was involved in student activities and clubs, including a fraternity, engineering societies, and

intramural sports, all of which were provided in exchange for the fees paid for the semester.

Plaintiff’s involvements in all such activities and clubs was halted due Defendants’ response to

COVID-19.

       24.      As a result of Defendants’ closure, Defendants have not complied with their

obligation to provide in-person educational services along with other experiences, opportunities,

and services Plaintiff and the Class paid for.

       25.      Upon information and belief, under the guidance of the Board of Governors, all of

the Universities followed a similar protocol and procedure for shutting down campuses, cancelling

organizations, events, and the like, and cancelling in-person lectures by transitioning to remote

online learning only.

       26.      Plaintiff and the Class did not enter into an agreement with Defendants for online

education, but rather sought to receive in-person education from Defendants’ institution.



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           27.   Certain Class members had the option to apply for online programs at a

significantly discounted rate, but chose to pay increased tuition and fees for in-person education

and experiences.

           28.   For example, the University of Florida offers the following discounted online

tuition:

For Florida Residents:




For Non-Residents:




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       29.      In tacit acknowledgment that there is a clear and distinct discount in online degrees,

the University of Florida advertises that you can earn a “greater degree, for less.”




       30.      Therefore, Plaintiff and Class Members are entitled to a pro-rata refund of the

tuition and fees they paid to Defendants for in-person educational services as well as other

marketed collegiate experiences and services that were not provided because the Universities

transitioned to online only learning, and the services and experiences for which the fees were

intended to pay were not provided.



                                 JURISDICTION AND VENUE

        33.     This Court has jurisdiction over the action pursuant to 28 U.S.C. §

 1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least one

 member of the Class, as defined below, is a citizen of a different state than Defendants, there

 are more than 100 members of the Class, and the aggregate amount in controversy exceeds

 $5,000,000 exclusive of interest and costs.

        34.     This court has personal jurisdiction over Defendants because Defendants

 maintains a principal place of business in this District.

        35.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendants

 operate and provide services to Class Members within this district.


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                                      PARTIES

       36.     Plaintiff J. LAFLEUR is a student at the University of South Florida and a resident

of Tampa, Florida 33647. Plaintiff was enrolled as an undergraduate student at the University of

South Florida during the Spring 2020 semester and is currently enrolled as an undergraduate

student for the Summer 2020 semester. Plaintiff has not received a refund and/or discount of tuition

and fees paid to Defendants, despite the fact that USF has been shut down since on or about March

11, 2020.

       37.     Upon information and belief, the Florida Board of Governors is the governing body

of the State University System of Florida, with its principal place of business at 325 W. Gaines

Street, #1614, Tallahassee, FL 32399.

       38.     The State University System of Florida is a system of twelve public universities in

the State of Florida, which is headquartered in Tallahassee, Florida.

       39.     Defendant the University of South Florida is a public university located at 4202 E.

Fowler Ave., Tampa, FL 33620, and is a part of the State University System of Florida.



                                    CLASS ALLEGATIONS

        40.     Plaintiff brings this matter on behalf of himself and those similarly situated. As

 detailed in this Complaint, Defendants failed to provide the in-person education services the

 Plaintiff and Class paid tuition and fees to receive during the Spring Semester 2020, Summer

 2020 semester, with the possibility of future semesters.

        41.     Plaintiff and the Class were impacted by and damaged by this misconduct.

        42.     Accordingly, this action is ideally situated for class-wide resolution.



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        43.     The Class is defined as all individuals who paid tuition and fees to attend one

 of the Universities to receive in-person educational services, experiences, and opportunities

 during the Spring Semester 2020, Summer 2020 semester, or any future semester, but had

 their class(es) moved to online learning. (“Class”).

        44.     The Class is properly brought and should be maintained as a class action under

 FRCP 23 satisfying the class action prerequisites of numerosity, commonality, typicality, and

 adequacy because:

        45.     Numerosity: Class Members are so numerous that joinder of all members is

 impracticable. Based on enrollment reports, Plaintiff believes that there are approximately

 340,000 Class Members described above who have been damaged by Defendants breach of

 contract.

        46.     Commonality: The questions of law and fact common to the Class Members

 which predominate over any questions which may affect individual Class Members include,

 but are not limited to:

                a. Whether Defendants accepted money from Plaintiff and Class Members
                   in exchange for a promise to provide services;
                b. Whether Defendants provided those services as bargained for;
                c. Whether Plaintiff and the Class Members are entitled to a pro-rata portion
                   of the tuition and fees paid for services that were not provided.;
                d. Whether Defendants were unjustly enriched;
                e. Whether Defendants converted money from the Plaintiff and Class
                   Members.

       47.     Typicality: Plaintiff is a member of the Class. Plaintiff’s claims are typical of the

claims of each Class Member in that every member of the Class was subject to Defendants breach

of contract, unjust enrichment and conversion. Plaintiff is entitled to relief under the same causes

of action as the other Class Members.

       48.     Adequacy: Plaintiff is an adequate Class representative because his interests do not


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conflict with the interests of the Class Members he seeks to represent; his claims are common to

all members of the Class and he has a strong interest in vindicating her rights; he has retained

counsel competent and experienced in complex class action litigation and they intend to vigorously

prosecute this action. Plaintiff has no interests which conflict with those of the Class. The Class

Members’ interests will be fairly and adequately protected by Plaintiff and his counsel. Defendants

have acted in a manner generally applicable to the Class, making relief appropriate with respect to

Plaintiff and the Class Members. The prosecution of separate actions by individual Class Members

would create a risk of inconsistent and varying adjudications.

       49.      The Class is properly brought and should be maintained as a class action under

FRCP 23 because a class action is superior to traditional litigation of this controversy. Common

issues of law and fact predominate over any other questions affecting only individual members of

the Class. The Class issues fully predominate over any individual issue because no inquiry into

individual conduct is necessary; all that is required is a narrow focus on Defendants’ deceptive and

misleading practices.

        50.       In addition, this Class is superior to other methods for fair and efficient

 adjudication of this controversy because, inter alia:

        51.      Superiority: A class action is superior to the other available methods for the

 fair and efficient adjudication of this controversy because:

              a. The joinder of thousands of individual Class Members is impracticable,
                 cumbersome, unduly burdensome, and a waste of judicial and/or
                 litigation resources;

              b. The individual claims of the Class Members may be relatively modest
                 compared with the expense of litigating the claim, thereby making it
                 impracticable, unduly burdensome, and expensive-if not totally impossible-to
                 justify individual actions;

              c. When Defendants’ liability has been adjudicated, all Class Members’ claims can


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                    be determined by the Class and administered efficiently in a manner far less
                    burdensome and expensive than if it were attempted through filing, discovery,
                    and trial of all individual cases;

              d. This class action will promote orderly, efficient, expeditious, and
                 appropriate adjudication and administration of Class claims;

              e. Plaintiff knows of no difficulty to be encountered in the management of
                 this action that would preclude its maintenance as a class action;

              f. This class action will assure uniformity of decisions among Class Members;

              g. The Class is readily definable and prosecution of this action as a class action will
                 eliminate the possibility of repetitious litigation;

              h. Class Members’ interests in individually controlling the prosecution of separate
                 actions are outweighed by their interest in efficient resolution by single class
                 action; and

              i.    It would be desirable to concentrate in this single venue the litigation of all
                    plaintiffs who were induced by Defendants’ deceptive and discriminatory
                    consumer practices.

        52.         Accordingly, this Class is properly brought and should be maintained as a class

 action under FRCP 23 because questions of law or fact common to Class Members predominate

 over any questions affecting only individual members, and because a class action is superior to

 other available methods for fairly and efficiently adjudicating this controversy.

        53.         Plaintiff and the Class can maintain this action as a class action under FRCP

 23(b)(1), (2), and (3).



                                   FIRST CAUSE OF ACTION
                                    BREACH OF CONTRACT
                            (On Behalf of Plaintiff and All Class Members)

       54.         Plaintiff, on behalf of himself and other members of the class, adopts and re-alleges

paragraphs 1 through 53, and brings a common law claim for Breach of Contract.

       55.         By accepting payment, Defendants entered into contractual arrangements with


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Plaintiff and Class Members to provide educational services, experiences, opportunities, and

related services for the Spring Semester 2020 and Summer Semester 2020.

       56.     Plaintiff and Class Members’ payment of tuition and fees were intended to cover

in-person education, experiences, and services throughout the entirety of the semesters.

       57.     Defendants received and retained the benefits without providing those benefits to

Plaintiff and Class Members.

       58.     As a direct and proximate result of Defendants’ breach of contract, Plaintiff and

Class Members have been harmed by not receiving the educational experiences, opportunities, and

services they paid for during the entire semester.

       59.     Defendants are required to perform under the contract and COVID-19 does not

excuse such performance. Therefore, Defendants should be required to return pro-rata shares of

the tuition and fees paid by Plaintiff and Class Members that related to services that were not

provided for after the Universities shut down on or around March 11, 2020.

       WHEREFORE, Plaintiff demands judgment from Defendants for all applicable damages

resulting from Defendant’s breach.



                              SECOND CAUSE OF ACTION
                                       CONVERSION
                        (On Behalf of Plaintiff and All Class Members)

       60.     Plaintiff, on behalf of himself and other members of the Class, adopts and re-alleges

paragraphs 1 through 53, and brings a common law claim for Conversion.

       61.     Plaintiff and Class Members have an ownership right to the in-person educational

services based on their payment of tuition and fees for the Spring Semester 2020 and Summer

Semester 2020.



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       62.     Defendants intentionally interfered with Plaintiff and the Class Members’

ownership right when they canceled in-person instructions for the remainder of the Spring

Semester 2020, and the entirety of the Summer Semester 2020.

       63.     Plaintiff and the Class Members were damaged by Defendants’ interference as they

paid for educational experiences and services for the entirety of the semesters, which were not

provided.

       64.     Plaintiff and the Class Members are entitled to a pro-rata share of the tuition and

fees they paid for but were not provided resulting from Defendants’ interference.

WHEREFORE, Plaintiff demands judgment from Defendants for all applicable damages resulting

from Defendant’s breach.



                              THIRD CAUSE OF ACTION
                      COMMON LAW UNJUST ENRICHMENT
             (On Behalf of Plaintiff and All Class Members in the Alternative)

       65.     Plaintiff, on behalf of himself and other members of the class, adopts and re-alleges

paragraphs 1 through 53, and brings a common law claim for unjust enrichment in the alternative,

should there be no contract between Plaintiff and the Defendants.

       66.     Plaintiff and Class Members conferred financial benefits and paid substantial

tuition and fees to Defendants for educational and related services for the Spring Semester 2020

and Summer Semester 2020. As bargained for these tuition and fee payments were intended to

cover in-person education and experiences throughout the entire semesters.

       67.     Defendants accepted the obligation to provide such services when they accepted

payment.

       68.     Defendants retained these payments, despite Defendants’ failing to provide the



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bargained for educational experiences and services for which the tuition and fees were collected

to cover. Defendants should be required to return a pro-rated share of any tuition and fees, of which

services were not provided as bargained for, since the Universities shut down on or around March

11, 2020.

       69.     Under common law principles of unjust enrichment, it is inequitable for Defendants

to retain the benefits conferred by Plaintiff’s and Class Members’ overpayments.

       70.     Plaintiff and Class Members seek disgorgement of all profits resulting from such

overpayments and establishment of a constructive trust from which Plaintiff and Class Members

may seek restitution.

       WHEREFORE, Plaintiff demands judgment from Defendants for all applicable damages

resulting from Defendant’s breach.

                                   DEMANDS FOR RELIEF

       71.     Plaintiff demands a trial by jury on all issues.



 WHEREFORE, Plaintiff, on behalf of himself and the Class, pray for judgment as follows:

       (a)     Declaring this action to be a proper class action and certifying

               Plaintiff as the representative of the Class under FRCP 23;

       (b)     Awarding monetary damages, including damages;

       (c)     Awarding punitive and treble damages;

       (d)     Awarding Plaintiff and Class Members their costs and expenses incurred in this

               action, including a reasonable allowance of attorney’s fees for Plaintiff’s

               attorneys and experts, and reimbursement of Plaintiff’s expenses; and

       (f)     Granting such other and further relief as the Court may deem just and proper.



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Dated: July 21, 2020               Respectfully submitted,

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